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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                           Plaintiff,
   v.                                                      CASE NO. 17-CV-00454-GKF-JFJ

   CASTLE HILL STUDIOS LLC, et al.                         PUBLIC REDACTED VERSION

                           Defendants.


                DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION
            TO EXCLUDE THE TESTIMONY OF ROBERT ZEIDMAN IN PART

           Defendants, Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (collectively, “CHG” or “Castle Hill”), hereby oppose Plaintiff’s motion to

   exclude the testimony of Robert Zeidman in part. Mr. Zeidman produced an expert report on

   August 31, 2018 in response to the report of VGT’s technical expert, Stacy Friedman. 1 Mr.

   Zeidman’s analysis was two-fold: first, he examined both Castle Hill and VGT source code and

   concluded that Castle Hill had not “copied” VGT’s source code; second, Mr. Zeidman offered

   opinions that the algorithms and other “trade secrets” VGT alleges were misappropriated were not

   trade secrets at all, because, based on his background and experience in software engineering, they

   relied on information readily available in the public domain or common-sense applications of well-

   known processes.

           VGT challenges Mr. Zeidman’s report and opinions on three bases. First, VGT requests

   that the Court preclude Mr. Zeidman from testifying regarding his source code analysis and the lack

   of evidence of any copying of source code by Castle Hill. VGT, however, expressly alleged copying

   of its source code in its complaint, as originally filed and as amended. Its allegations of

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           For all of the reasons set forth in Defendants Motion to Exclude Plaintiff’s Expert Stacy
   Friedman (Dkt. 172), VGT should be precluded from introducing the testimony or expert reports of
   Mr. Friedman at trial.
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   misappropriation of its algorithms similarly require an analysis of the underlying source code, which

   contains the actual implementation of those algorithms.

           Second, VGT mischaracterizes the nature of Mr. Zeidman’s opinions and argues that

   because Mr. Zeidman is not an expert on “casino gaming,” he cannot offer opinions regarding the

   software algorithms which VGT claims comprise its trade secrets. But Mr. Zeidman is an expert on

   computer hardware, software, and software correlation, and holds 22 patents in the areas of software

   analysis and software comparison, as well as in other specific areas or disciplines of software and

   hardware design. Because the casino games at issue all operate on computer source code, Mr.

   Zeidman is more than qualified to offer expert opinions on VGT’s computer algorithms.

           Finally, VGT seeks to preclude Mr. Zeidman from testifying regarding the

                                                                                 On this issue, VGT

   merely seeks to suppress unfavorable testimony about its

                       . In addition, all of VGT’s arguments of potential jury confusion and prejudice

   under Fed. R. Evid. 403 are now moot, as the Court has recently granted Defendants’ Motion to

   Strike Plaintiff’s Jury Demand. Because there is no jury, there is no risk of confusion or prejudice.

   I.      EXPERT WITNESS STANDARD

           Under Rule 702, an expert’s opinion is admissible if four basic requirements are met: (a) the

   expert’s scientific, technical, or other specialized knowledge will help the trier of fact to understand

   the evidence or to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c)

   the testimony is the product of reliable principles and methods; and (d) the expert has reliably

   applied the principles and methods to the facts of the case. Fed. R. Evid. 702. “Rule 702 ‘imposes a

   special gatekeeping obligation on the trial judge to ensure that an opinion offered by an expert is

   reliable.’” U.S. v. Velarde, 214 F.3d 1204, 1208 (10th Cir. 2000). “A trial court’s gatekeeper duty

   requires two separate inquiries: (1) the witness must be qualified to offer the opinions he is



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   espousing and (2) the proponent of the witness bears the burden of proving by a preponderance of

   the evidence that its witness’s opinions are both relevant and reliable.” Bright v. Ohio Nat’l Life

   Assurance Corp., 2012 WL 12888316 at *1 (N.D. Okla. Nov. 29, 2012) (Frizzell, C.J.) (citing Kumho

   Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141-52).

   II.     ARGUMENT

           A.      VGT’s Alleged Concerns Regarding Jury Confusion are Moot

           Throughout its motion, VGT repeatedly argues that various aspects of Mr. Zeidman’s

   testimony could mislead or confuse the jury. See, e.g., VGT Mot. at 9, 10, 17, 18. When the Court

   granted Castle Hill’s motion to strike the jury demand, all of the arguments VGT makes regarding

   potential jury confusion were rendered moot. Furthermore, while the court in a bench trial must

   still ensure that expert testimony is admissible under Daubert, the “gate-keeping function is less

   important because ‘the usual concerns regarding unreliable expert testimony reaching a jury

   obviously do not arise[.]’” Valley View Dev. Inc. v. U.S. ex rel. U.S. Army Corps of Eng’rs, 721 F. Supp.

   2d 1024, 1047 (N.D. Okla. 2010) (citing Atty. Gen. of Okla. v. Tyson Foods, Inc., 565 F.3d 769, 779

   (10th Cir. 2009); see Perez ex rel. Cardenas v. Henneberry, No. 09-CV-1681-WJM-MEH, 2011 WL

   1743734, at *2 (D. Colo. May 5, 2011) (same). Accordingly, a “judge conducting a bench trial

   maintains greater leeway in admitting questionable evidence, weighing its persuasive value upon

   presentation.” Id.

           B.      Mr. Zeidman’s Opinions Regarding Source Code Copying and Analysis of
                   VGT and Castle Hill Source Code are Relevant and Will be Helpful to the
                   Court

                   i.      In a case reg arding software source code trade secrets, it is appropriate
                           to include an analysis of the actual source code

           VGT’s trade secrets claim has now been narrowed to only a few remaining items, which

   relate to the design or functionality of its games. See VGT Mot. at 4-5. These remaining trade



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   secrets which VGT alleges have been misappropriated are encompassed or otherwise set forth in

   VGT’s source code. VGT’s allegations arise, in part, from the fact that certain former VGT

   software engineers work at Castle Hill.

           Remarkably, VGT’s expert Mr. Friedman did not examine or compare the source code at

   issue. Instead, he relied on VGT witnesses who told him that Castle Hill’s game functionality was

   “similar” to VGT’s. Mr. Friedman’s report alleged that Castle Hill had “misappropriated” two

   specific algorithms,

                    . To rebut this allegation, Castle Hill’s expert started in the obvious place to begin,

   examining the actual source code that sets forth and implements the algorithms at issue. Ultimately,

   after comparing both VGT and Castle Hill source code using a proprietary software program he

   designed, CodeSuite, Mr. Zeidman concluded that there was no indication of source code copying.

   Ex. 1, Zeidman Report ¶ 135; Ex. 2, Zeidman Dep. at 94:9-14.

           In arguing that Mr. Zeidman’s source code analysis should be excluded, VGT misses several

   fundamental points. First, the CodeSuite program (and Mr. Zeidman’s corresponding analysis) does

   not relate only to literal copying of source code. Rather, CodeSuite looks at both literal and non-

   literal copying, and also examines whether the two sets of source code include similar functionality.

   See Zeidman Dep. at 52:11-20

                                                           . Mr. Zeidman also performed a manual

   review of source code in connection with his analysis. In a case where VGT claims that Castle Hill

   misappropriated certain of its algorithms (which themselves are actually implemented in VGT source

   code), it only makes sense that Castle Hill be permitted to offer expert opinion regarding the lack of

   similarities between the code, both on a literal and functional basis.

           Second, VGT fails to inform the Court that Mr. Friedman and Mr. Zeidman have different

   opinions regarding whether or not a source code analysis was appropriate in a case such as this. In



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   his report, for example, Mr. Zeidman notes that Mr. Friedman’s report is unreliable because, while he

   opined on various functionalities of source code, Mr. Friedman failed to identify the relevant source

   code or even state whether he actually reviewed the source code at issue. Ex. 1 at ¶ 96. VGT, on

   the other hand, purports that it is appropriate in a case dealing with trade secrets set forth in

   software source code for its expert to not even address the actual source code. This is a dispute

   between the experts regarding the appropriate analysis and methodology; the Court should hear

   testimony from Mr. Zeidman on this point. See Antonick v. Electronic Arts, Inc., 841 F.3d 1062 (9th

   Cir. 2016) (in copyright infringement case, plaintiff could not demonstrate infringement where it

   failed to demonstrate similarities between the actual source code at issue).

             Third, a central aspect of Mr. Zeidman’s source code comparison analysis was examining

   Castle Hill’s                                                                            . One of

   VGT’s allegations is that Castle Hill’s development of games was accelerated through its alleged

   misappropriation of VGT trade secrets and confidential information. Mr. Zeidman offers opinions

   regarding the fact that

                             Zeidman Dep. at 249:23-250:17. The degree to which Castle Hill was able to

   rely on                                                                           to speed up its Class

   II development, is a central defense to VGT’s claims. Mr. Zeidman should be permitted to opine

   regarding                             in Castle Hill code and how that is different from VGT code.

                    ii.      Even thoug h it does not claim source code copying , VGT’s claims still
                             implicate Castle H ill’s source code

             Despite VGT’s recent admission that Castle Hill did not copy its source code, VGT’s

   allegations and expert opinions still implicate source code and make Mr. Zeidman’s opinions

   regarding source code comparison appropriate and helpful. In its Amended Complaint, VGT

   defines the “VGT Trade Secrets” as including “the source code used to operate the games.” Am.

   Compl. (Dkt. 103) at ¶ 41. VGT further alleges that Castle Hill has misappropriated the VGT Trade


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   Secrets because “the play of CHG’s games, including without limitation, the payouts, bingo

   mechanics, and volatility, which are determined by the source code and underlying math of the game,

   mimics the play of VGT’s games.” Id. ¶ 98 (emphasis added); see id. ¶¶ 93, 100, 147, 157 (alleging

   that Castle Hill misappropriated VGT Trade Secrets, which includes source code). Despite now

   admitting that it has no evidence of source code copying, VGT has not withdrawn or amended the

   allegations of its Amended Complaint. 2 Given these allegations, Castle Hill must be permitted to

   offer the opinions of Mr. Zeidman regarding his comparison of Castle Hill and VGT code.

           Moreover, VGT is incorrect that Mr. Zeidman’s source code analysis is not a proper rebuttal

   to Mr. Friedman’s report. In his report, Mr. Friedman sets forth the alleged basis for his conclusion

   that Castle Hill “acquired, used, and disclosed” VGT trade secrets and confidential information. Mr.

   Friedman points to the fact that Castle Hill hired a number of former VGT engineers. See Ex. 3,

   Friedman Report at ¶¶ 89-93. Mr. Friedman further claims that Castle Hill employees

                                                                       See Ex. 3 at ¶ 100. Finally, Mr.

   Friedman’s report cites a number of instances of




           VGT points to these alleged instances of former employees



   2
            This is particularly concerning given that VGT amended its complaint, with leave of Court,
   on the eve of the close of discovery, long after it had determined that, contrary to the allegations in its
   original complaint, there is absolutely no evidence that Castle Hill ever copied or misappropriated
   VGT’s source code. VGT has never explained why it failed to remove those frivolous allegations
   from the amended complaint, consistent with its obligations under Fed. R. Civ. P. 11(b)(3).


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                                 . By accusing Castle Hill employees of stealing VGT source code, VGT

   has placed the source code of the two companies directly at issue. An important aspect of Castle

   Hill’s defense to these allegations is that there is no evidence whatsoever of any of the foregoing

   items, including VGT source code, being copied or implemented in Castle Hill’s code.

           Even where literal copying is no longer an issue, expert opinion regarding lack of source

   code similarly remains relevant. See Vehicle Mkt. Research, Inc. v. Mitchell Int’l, Inc., No. 09-2518-JAR,

   2015 WL 5021951 (D. Kan. Aug. 21, 2015). In Vehicle Mkt., the plaintiff requested that the court

   exclude a defense expert’s testimony regarding source code copying because the plaintiff did not

   claim that the defendant “literally copied the source code.” Id. at *2. Nevertheless, the plaintiff

   argued that the defendant had “re-architectured” certain concepts from the plaintiff’s code. Id. The

   court concluded that despite the fact that literal copying was not alleged, the expert’s testimony

   regarding the similarities between the two parties’ code was relevant to plaintiff’s claims. Id.

           VGT makes the very same argument as the plaintiff in Vehicle Mkt.. But just as in that case,

   where the plaintiff alleged that “concepts” from its code had been incorporated into the defendants’

   code, VGT continues to allege that Castle Hill misappropriated certain algorithms and also that

   Castle Hill misappropriated confidential “know how” in its own source code development. Under

   these circumstances, the Court should reach the same conclusion as the court in Vehicle Mkt. and

   deny VGT’s motion to limit Mr. Zeidman’s testimony.

           C.      Mr. Zeidman is Qualified to Offer the Opinions Set Forth in his Report

           VGT next attacks Mr. Zeidman’s opinions by alleging that he is not qualified to opine on

   matters relating to “casino gaming.” In making this argument, VGT mischaracterizes the nature of

   its own claims and the nature of Mr. Zeidman’s opinions. VGT does not challenge Mr. Zeidman’s

   qualifications to offer opinions regarding software development and engineering, or regarding



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   common algorithms used in various implementations in software, nor could it credibly do so. Mr.

   Zeidman has a Master’s degree from Stanford in electrical engineering, and degrees from Cornell

   University in electrical engineering and physics. He has worked as a computer software and

   hardware designer for over 35 years, written nearly a dozen books, and has testified in numerous

   cases regarding software copying, trade secret theft, and patent infringement. See Ex. 1 at Ex. A

   (Zeidman Resume). His background further includes significant experience in matters involving

                                      . Ex. 2 at ¶¶ 8-10. Mr. Zeidman’s expertise in the fields of

   software development and trade secret disputes is further demonstrated by the document attached

   to VGT’s motion as Exhibit A, excerpts from The Software IP Detective’s Handbook, which Mr.

   Zeidman authored.

          The opinions Mr. Zeidman will offer in this case will appropriately fall within his area of

   knowledge and expertise. While VGT attempts to cast its alleged trade secrets as unique to the

   casino industry, they are not. Rather, the two specific algorithms VGT alleges Castle Hill

   misappropriated relate to

                                                 , which present questions of software source code,

   computer science, and mathematical algorithms. While VGT happens to apply those concepts in

   the Class II gaming context, the opinions Mr. Zeidman offers relate to the underlying mathematical

   algorithms and software functionality at issue.

          VGT takes an unreasonably narrow position on the relevance of expert testimony in this

   case. While VGT would like to limit the inquiry to whether its algorithms are generally known in the

   Class II gaming industry, the relevant inquiry is whether the algorithms are generally known in

   computer science applications generally, and whether they are readily ascertainable by proper means.

   Mr. Zeidman’s background as an expert on computer software analysis and software comparison

   make him incredibly well-qualified to offer relevant opinions about VGT’s software algorithms,



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   whether they are commonly known, and whether they represented customary applications of

   computer science principles.

           For example, Mr. Zeidman testified that he was familiar with

                         and that the

                       is well-known and publicly available.




           VGT is correct that Mr. Zeidman concludes that VGT’s alleged trade secrets are in fact

   “general practice,” widely known, or “common sense.” These conclusions, and all of Mr. Zeidman’s

   opinions, are based on Mr. Zeidman’s review of VGT’s algorithms and software, and his knowledge

   and experience as an engineer and software expert; Mr. Zeidman need not be a casino industry

   expert to opine regarding mathematical equations and source code. 4



   3
           VGT alleges that to opine regarding
                                                                     VGT Mot. at 13. Not so. Mr.
   Zeidman is familiar with the algorithms and processes used in VGT’s                        , and
   qualified to testify regarding the lack of uniqueness of those algorithms and processes.
   4
            On page 16 of its motion, VGT identifies “mistakes” it alleges Mr. Zeidman made during his
   deposition testimony. Castle Hill disputes VGT’s mischaracterizations of Mr. Zeidman’s testimony,
   but to the extent VGT wants to allege “mistakes” it can do so on cross-examination and in
   arguments regarding the weight of Mr. Zeidman’s opinions. Moreover, the case on which VGT
   relies, Mike’s Train House, Inc. v. Lionel, LLC, 472 F.3d 398 (6th Cir. 2006), is easily distinguishable.
   The expert there created his methodology specifically for that case, and the expert’s lack of subject-
   matter knowledge meant he was unable to identify indicia of copying between train designs. Here,
   Mr. Zeidman has extensive experience regarding trade secret misappropriation, and software and
   source code copying, and his methodology was not developed specifically for this case. His
   opinions regarding the algorithms and software solutions at issue in this case are reliable and
   admissible.


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          As this court has previously explained, a “proposed expert should not be required to satisfy

  an overly narrow test of his own qualification.” Okla. v. Tyson Foods, Inc., No. 05-CV-329-GKF-PJC,

  2009 WL 10271834, at *3 (N.D. Okla. Aug. 17, 2009). “As long as an expert stays within the

  reasonable confines of his subject area, our case law establishes a lack of specialization does not

  affect the admissibility of [the expert] opinion, but only its weight.” Id. (quoting Compton v. Subaru of

  Am., Inc., 82 F.3d 1513, 1520 (10th Cir. 1996).

          VGT’s argument that Mr. Zeidman must be a casino industry expert to testify in this case is

  similar to the argument rejected by this court in Wood v. Cendant Corp., No. 03-CV-TCK-FHM, 2006

  WL 6862723 (N.D. Okla. Mar. 28, 2006). There, plaintiff’s expert had experience in business

  valuation and Excel-based software, but had never testified as to copyright infringement (the specific

  claim) or call-center software (the specific industry at issue). Id. at *2. Defendant argued that the

  expert’s lack of experience in call-center industry standards precluded her from testifying. The court

  denied the defendant’s request to exclude the expert, explaining that “[w]hat matters is that she can

  give testimony on what is beneath the expressions common to the industry to find what expressions

  are within the modules, formulae, data flow, and algorithms, then filter and abstract this

  information, to determine what substantial similarity, if any, exists among the programs at issue.” Id.

  Similarly here, Mr. Zeidman can offer opinions regarding the algorithms, processes, and software at

  issue, regardless of his prior casino-specific experience. 5 See Nance v. Innovasis, Inc., No. CIV-11-432-

  D, 2013 WL 7205100, at *3-4 (W.D. Okla. Mar. 20, 2013) (expert’s lack of specialization in

  orthopedic screws was subject to cross-examination, but did not prevent expert from testifying

  regarding alleged design defects which were based on “general principles of mechanical

  engineering”); Metzger v. Am. Fid. Assur. Co., No. CIV-05-1387-M, 2008 WL 7180759, at *2-3 (W.D.


  5
          Moreover, Mr. Zeidman has been retained as an expert in at least one other case involving
  casino gaming software. Zeidman Dep. at 7:18-8:22.


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  Okla. Jan. 28, 2008) (expert with general insurance industry experience permitted to testify despite

  lack of specialization on supplemental cancer insurance benefits because “lack of specialization . . .

  goes to the weight of the expert opinion and not its admissibility.”).

          Given his expansive computer science and engineering background, Mr. Zeidman is

  sufficiently qualified to offer the opinions set forth in his report.

          D.      VGT Improperly Seeks to Prevent Mr. Zeidman From Testifying Regarding
                                                 in VGT’s Source Code

          When Mr. Zeidman examined VGT’s source code, he discovered



                        Mr. Zeidman notes in his report that VGT’s code



                                                                            See Ex. 1 at ¶ 92. This

  information is relevant both to Mr. Zeidman’s discussion of VGT’s alleged confidential information

  regarding the way its source code



                                         The results of Mr. Zeidman’s review of VGT source code in

  this regard are both relevant and helpful to the Court. There is no reason to exclude his testimony.

  III.    CONCLUSION

          Defendants, Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

  Development LLC respectfully request that the Plaintiff’s motion to exclude the testimony of

  Robert Zeidman in part be denied.




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  Dated: November 16, 2018            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 16th day of November, 2018, I caused a copy of the foregoing
  DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO EXCLUDE THE
  TESTIMONY OF ROBERT ZEIDMAN IN PART – PUBLIC REDACTED VERSION to
  be filed using the Court’s ECF system, which will send a notification of electronic filing to the
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